                  IN THE UNITED STATES DISTRICT COURT
              FOR THE MIDDLE DISTRICT OF NORTH CAROLINA
                    Civil Action No.: 1:24-cv-00710-LCB-JLW



 UNITED STATES OF AMERICA; STATE
 OF NORTH CAROLINA; STATE OF
 CALIFORNIA; STATE OF COLORADO;
 STATE OF CONNECTICUT; STATE OF
 MINNESOTA; STATE OF OREGON;
 STATE OF TENNESSEE; and STATE OF
 WASHINGTON,
                                                    DEFENDANT REALPAGE, INC.’S
        Plaintiffs,
                                                    MOTION TO TRANSFER UNDER
                                                    28 U.S.C. § 1404(a)
        v.


 REALPAGE, INC.,

        Defendant.




       Defendant RealPage, Inc. moves this Court for an order transferring this action to

the United States District Court for the Middle District of Tennessee pursuant to 28 U.S.C.

§ 1404(a) or, in the alternative, to the Northern District of Texas.

       As shown in RealPage’s supporting memorandum, this action should be transferred

to the Middle District of Tennessee, which is handling earlier-filed, private litigation very

closely related to the legal claims and factual allegations in Plaintiffs’ Complaint, and

where the U.S. Department of Justice has already appeared and argued. Transferring this




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action to the Middle District of Tennessee would avoid the risk of inconsistent judgments;

reduce burdens on the parties, non-parties, and witnesses; and save time, energy, and costs.

       In the alternative, this action should be transferred to the Northern District of Texas,

where RealPage and many third parties and likely witnesses are located and where the

software at issue was developed, and which has a less congested docket than the Middle

District of North Carolina.

       WHEREFORE, RealPage respectfully asks that the Court grant its motion to

transfer venue under 28 U.S.C. § 1404(a).



       This 26th day of September, 2024.

                                    /s/ Adam K. Doerr
                                    Adam K. Doerr
                                    N.C. Bar No. 37807
                                    adoerr@robinsonbradshaw.com

                                    ROBINSON, BRADSHAW & HINSON, P.A.
                                    101 N. Tryon St., Ste. 1900
                                    Charlotte, North Carolina 28246
                                    Telephone: 704.377.2536
                                    Facsimile: 704.378.4000

                                    Jay P. Srinivasan
                                    (LR 83.1(d) Counsel)
                                    jsrinivasan@gibsondunn.com
                                    Daniel G. Swanson
                                    (LR 83.1(d) Counsel)
                                    dswanson@gibsondunn.com

                                    GIBSON, DUNN & CRUTCHER LLP
                                    333 South Grand Avenue
                                    Los Angeles, CA 90071-3197
                                    Telephone: (213) 229-7000

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                       Stephen Weissman
                       (LR 83.1(d) Counsel)
                       sweissman@gibsondunn.com
                       Michael J. Perry
                       (LR 83.1(d) Counsel)
                       mjperry@gibsondunn.com

                       GIBSON, DUNN & CRUTCHER LLP
                       1700 M Street, NW
                       Washington, DC 20036-4504
                       Telephone: (202) 955-8500

                       S. Christopher Whittaker
                       (LR 83.1(d) Counsel)
                       cwhittaker@gibsondunn.com

                       GIBSON, DUNN & CRUTCHER LLP
                       3161 Michelson Drive, Suite 1200
                       Irvine, CA 92612-4412
                       Telephone: (949) 451-4337

                       Ben A. Sherwood
                       (LR 83.1(d) Counsel)
                       bsherwood@gibsondunn.com

                       GIBSON, DUNN & CRUTCHER LLP
                       200 Park Avenue
                       New York, NY 10166-0193
                       Telephone: (212) 351-2671

                       Attorneys for Defendant RealPage, Inc.




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